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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS
 LIABILITY LITIGATION                                 MDL No. 2741
                                                      Case No. 16-md-02741-VC
 This document relates to:
 ALL ACTIONS                                          PRETRIAL ORDER NO. 49:
                                                      RE PLAINTIFF FACT SHEETS AND
                                                      UPCOMING DEADLINES




       As discussed at the September 13, 2018, case management conference, a telephonic case

management conference is scheduled for September 24, 2018, at 10:00 a.m. By 5:00 p.m. on

September 20, 2018, the parties are directed to submit:

    1. Any objections to the proposed plaintiff fact sheet attached to this order. The parties

        should avoid repeating objections that were already raised at the prior case management

        conference.

    2. An explanation of how the parties plan to make the plaintiff fact sheet available for
        completion online.

    3. A proposed pretrial and trial schedule for the four Northern District of California

        plaintiffs. Note that the pre-trial and trial dates should be the same for all four plaintiffs.

    4. A proposed order outlining the procedures for completing the plaintiff fact sheets

        (including what a plaintiff must do to seek an extension) and the consequences for

        plaintiffs who do not timely complete fact sheets. The order should specify the separate
        deadlines for submitting the plaintiff fact sheets for: (a) the four plaintiffs who originally
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       filed their cases in the Northern District of California (28 days); (b) the other plaintiffs

       who reside in California (60 days); (c) the remainder of the current plaintiffs (120 days);

       and (d) plaintiffs whose cases have not yet been transferred to the MDL (90 days from

       the date of transfer).

   5. A proposed defendant fact sheet, along with an explanation of the purposes of a

       defendant fact sheet in this context. If the parties cannot agree on a fact sheet, the

       plaintiffs and Monsanto may submit competing fact sheets.



      IT IS SO ORDERED.

Dated: September 17, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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